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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


LEHIGH HANSON, INC.                                 Civil Action No:
300 E John Carpenter Freeway
Irving, Texas 75062
                                                    JURY TRIAL DEMANDED
              Plaintiff,

vs.

BNSF RAILWAY COMPANY
2650 Lou Menk Drive
Fort Worth, Texas 76131

CSX TRANSPORTATION, INC.
500 Water Street
Jacksonville, Florida 32202

NORFOLK SOUTHERN RAILWAY
COMPANY
Three Commercial Place
Norfolk, Virgina 23510

and,

UNION PACIFIC RAILROAD COMPANY
1400 Douglas Street
Omaha, Nebraska 68179

              Defendants.



                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Lehigh Hanson, Inc. (“Plaintiff” or “Lehigh Hanson”) files this Complaint under

the antitrust laws of the United States against Defendants BNSF Railway Company (“BNSF”),

CSX Transportation, Inc. (“CSX”), Norfolk Southern Railway Company (“NS”), Union Pacific

Railroad Company (“UP”) (collectively, “Defendants”), and alleges as follows:
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I.     INTRODUCTION

       1.       This is a civil antitrust action against Defendant railroads and their co-conspirators

for violating Section 1 of the Sherman Act, 15 U.S.C. § 1. Plaintiff is a company that purchased

rate-unregulated 1 freight from the Defendant railroads. Defendants engaged in a price-fixing

conspiracy to coordinate their rail fuel surcharge programs as a mechanism for imposing supra-

competitive total price increases on their shipping customers from on or about July 1, 2003 until

at least December 31, 2008. As a result of this unlawful conspiracy, Plaintiff seeks damages

against Defendants, jointly and severally, as provided in Section 4 of the Clayton Act, 15 U.S.C.

§ 15, injunctive relief, and such other relief as provided by law.

       2.       Defendants conspired to use rail fuel surcharges, which were added to customers’

total bills, as a means to fix, raise, maintain, and/or stabilize prices of rail freight transportation

services sold in the United States.

       3.       The total freight price for a shipping customer is called the “all-in rate.” This rate

consists of a base rate and a fuel surcharge applied as some percentage of the base rate. The base

rate is calculated according to fixed costs such as the cost of organizing a particular shipment, the

cost to build and maintain tracks and other structures, and the railroad’s markup of price over costs.

A rail fuel surcharge is a separately identified fee that is charged by the railroads for the agreed-

upon transportation, supposedly to compensate the railroads for increases in the cost of fuel.

Defendants imposed the rail fuel surcharge as a percentage multiplier of the base rates. These

surcharges raised rates beyond the real increased costs of fuel, which allowed Defendants to collect




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                “Rate-unregulated” refers to rail freight transportation services in which the rates
are set by private contracts or through other means exempt from rate regulation under federal law.


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billions of dollars of additional profits during the conspiracy at the expense of Plaintiff and other

shippers.

       4.       An independent study commissioned by the American Chemistry Council found

that through their fuel surcharge programs, Defendants generated revenues from customers that

far exceeded their actual increase in fuel costs. From 2003 to the first quarter of 2007, the study

found that railroads collected $11.66 billion in fuel surcharge revenue while costs in fuel rose by

only $5.26 billion. Defendants used these new fuel surcharge programs (which were the result of

an unlawful agreement) to generate revenue.

       5.       For example, BNSF’s annual fuel surcharge revenue increased from about $110.5

million in 2003 to about $357 million, $1.1 billion, and $1.7 billion in 2004, 2005, and 2006,

respectively. CSX increased its fuel surcharge revenue from $76 million in 2003 to about $203

million in 2004, $579 million in 2005, and $1.17 billion in 2006. NS and UP reaped similar

financial benefits from the conspiracy. NS increased its fuel revenue from about $65 million in

2003 to $184 million in 2004, $609 million in 2005, and then $1.14 billion in 2006. UP increased

its revenue from fuel surcharges from about $93 million in 2003 to about $292 million and $963

million in 2004 and 2005, respectively. This exponential increase in revenue allowed Defendants

to collect billions of dollars of additional profits during the conspiracy.

       6.       According to an economic analysis on Railroad Fuel Surcharge practices

commissioned by the American Chemistry Council and released in September 2007, Defendants

overcharged rail shippers by over $6 billion between 2005 and the first quarter of 2007.

       7.       Prior to the conspiracy, Defendants faced a decline in rail freight rates. Acting on

their own, each Defendant had limited success when trying to increase revenue through fuel

surcharges.    These pre-conspiracy fuel surcharges were only applied intermittently because




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Defendants were concerned about losing business to other railroads that did not apply the fuel

surcharges.

       8.       In order to increase revenue, Defendants devised and implemented a conspiracy to

impose standardized fuel surcharges. Defendants implemented this conspiracy through various

actions that began in 2003, including one or more acts as alleged below.

       9.       First, in or about the spring of 2003, Defendants unlawfully agreed to create and

apply artificially high, uniform fuel surcharges as a means to raise rates to shippers across the

board, and thereby increase Defendants’ profits.

       10,      Second, shortly after the four Defendants entered into this agreement, two of the

Defendants, BNSF and UP (together, the “Western Railroads”) announced that they would be

using the same fuel surcharge program, resulting in the exact same or similar fuel surcharges.

Up until this time, to the extent that railroads were successful in charging shippers a fuel

surcharge, the railroads charged different surcharge rates, reflecting that each railroad had

different fuel costs. However, in mid-2003, the Western Railroads agreed to coordinate their

fuel surcharges and base them on the U.S. Department of Energy On-Highway Diesel Fuel Price

Index (the “HDF Index”). Pursuant to the agreement among all four Defendants, the Western

Railroads began charging the exact same or similar fuel surcharges based on the HDF Index

from 2003 to 2008. A few months after the Western Railroads began charging the exact same

fuel surcharges, CSX and NS (together, the “Eastern Railroads”), announced that they would

apply identical surcharges based on the West Texas Intermediate (“WTI”) index. Previously, the

Eastern Railroads had different fuel surcharges. This announcement by the Eastern Railroads,

which came closely on the heels of the announcement by the Western Railroads, was a result of

the conspiracy among all Defendants to impose artificially high rail fuel surcharges in a




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coordinated fashion. The Eastern Railroads charged the exact same or similar fuel surcharges

from 2003 to 2008.

        11.     Third, Defendants collectively acted to remove any major obstacles to their plan.

One of the most significant obstacles was that as of 2003, most rail freight contracts included rate

escalation provisions that already permitted recovery by the railroads of actual fuel cost increases,

no matter how large. In the fall of 2003, Defendants conspired to cause the Association of

American Railroads (“AAR”) (a railroad trade association in which all Defendants were members

and active participants) to establish a new cost escalation index which removed fuel. As a result

of their collective action, Defendants were able to apply new, separate and artificially high rail fuel

surcharges to all of their customers as fuel would no longer be covered by standard rate escalation

clauses.

        12.     Fourth, in furtherance of the conspiracy, Defendants now applied their new fuel

surcharges uniformly – as a percentage multiplier of the total base rate for the rail freight

transportation. The old cost escalation indices were designed to reflect that fuel accounted for

only a portion of the total rail transport cost. This new approach allowed Defendants to use the

fuel surcharges as “profit centers” to generate a vast amount of revenue that was unconnected to

the actual cost of fuel. Defendants used the generally increasing cost of fuel as a pretextual cover

for implementing across-the-board rate increases, allowing them to unlawfully collect billions of

dollars in profits.

        13.     Fifth, Defendants took other collective actions to enforce the conspiracy and to

make it more effective. For example, they began refusing to negotiate discounts on rail freight

rates, even in circumstances in which individual railroads had previously been willing to offer




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discounts. These are some of the collective actions Defendants undertook to make the conspiracy

more effective.

        14.     The existence of the conspiracy alleged in this Complaint is further supported by

the fact that the Surface Transportation Board (which has jurisdiction over only rate-regulated

traffic, traffic not at issue in this case) held that “a fuel surcharge program that increases all rates

by a set percentage stands virtually no prospect of reflecting the actual increase in fuel costs …

[The railroads’ fuel surcharge program was a] misleading and ultimately unreasonable practice….”

        15.     As a direct and proximate result of the price fixing conspiracy described in this

Complaint, Defendants have restrained competition in the market for rate-unregulated rail freight

transportation services and injured Plaintiff.      Specifically, Plaintiff paid a higher price for

unregulated rail transportation services than it would have paid absent the conspiracy. 2

II.     PARTIES

        A.      Plaintiff

        16.     Lehigh Hanson is a corporation organized under the laws of the State of Delaware

with its principal place of business in Irving, Texas. The reference in this Complaint to Lehigh

Hanson refers to Lehigh Hanson, Inc. and each of its affiliates, subsidiary companies,

predecessors, and any assignors. During the time period relevant to these allegations, Lehigh

Hanson purchased unregulated rail freight transportation services directly from one or more of the

Defendants, and during this relevant period, one or more of the Defendants assessed fuel


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                While Plaintiff seeks damages arising from rail freight shipments made under
private transportation contracts, it does not seek damages in connection with rate-regulated freight
transportation. The Surface Transportation Board has authority over rate-regulated freight
transportation. In a 2007 decision, the STB found that fuel surcharges as applied to rate-regulated
traffic were “unreasonable … [because] a fuel surcharge program that increases all rates by a set
percentage stands virtually no prospect of reflecting the actual increase in fuel costs for handling
the particular traffic to which the surcharge is applied.”


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surcharges on Lehigh Hanson in connection with that unregulated rail freight transportation

service. The prices Lehigh Hanson paid to Defendants for unregulated rail freight transportation

services on which fuel surcharges were imposed were higher than they would have been absent

the alleged conspiracy. Lehigh Hanson has therefore been injured in its business and property by

reason of Defendants’ antitrust violations.

       B.      Defendants

       17.     Defendant BNSF Railway Company (“BNSF”) has its principal place of business

at 2650 Lou Menk Drive, Fort Worth, Texas 76131. BNSF is a major freight railroad operating

primarily in the western United States. BNSF has railway lines throughout the western United

States, and maintains coordinated schedules with other rail carriers to handle freight to and from

other parts of the country (including in this District). BNSF is defined to include its managers,

officers, employees and agents acting on its behalf. During the time period relevant to Plaintiff’s

claims, BNSF: directly participated in the conspiracy alleged in this Complaint; directly sold rail

transportation services to Plaintiff and others in the United States; and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       18.     Defendant CSX Transportation, Inc. (“CSX”) has its principal place of business at

500 Water Street, Jacksonville, Florida 32202. CSX is a major freight railroad operating primarily

in the eastern United States and Canada. CSX has railway lines throughout the eastern United

States, and maintains coordinated schedules with other rail carriers to handle freight to and from

other parts of the country (including in this District). CSX is defined to include its managers,

officers, employees and agents acting on its behalf. During the time period relevant to Plaintiff’s

claims, CSX: directly participated in the conspiracy alleged in this Complaint; directly sold rail




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transportation services to Plaintiff and others in the United States; and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       19.     Defendant Norfolk Southern Railway Company (“NS”) has its principal place of

business at Three Commercial Place, Norfolk, Virginia 23510. NS is a major freight railroad that

operates primarily in the eastern part of the United States. NS has railway lines throughout the

eastern United States, and maintains coordinated schedules with other rail carriers to handle freight

to and from other parts of the country (including in this District). NS is defined to include its

managers, officers, employees and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, NS: directly participated in the conspiracy alleged in this Complaint; directly

sold rail transportation services to Plaintiff and others in the United States; and engaged in the

unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       20.     Defendant Union Pacific Railroad Company (“UP”) has its principal place of

business at 1400 Douglas Street, Omaha, Nebraska 68179. UP is a major freight railroad operating

primarily in the western United States. UP has railway lines throughout the western United States,

and maintains coordinated schedules with other rail carriers to handle freight to and from other

parts of the country (including in this District). UP is defined to include its managers, officers,

employees and agents acting on its behalf. During the time period relevant to Plaintiff’s claims,

UP: directly participated in the conspiracy alleged in this Complaint; directly sold rail

transportation services to Plaintiff and others in the United States; and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.




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       C.      Co-Conspirators and Agents

       21.     Other entities and individuals not named as Defendants combined, conspired, or

agreed with Defendants and committed acts in furtherance of the unlawful conspiracy alleged in

this Complaint.

       22.     Plaintiff reserves the right to amend this Complaint based on discovery in this case

to allege the identities of co-conspirators as they are discovered.

       23.     At all times relevant to the allegations in this Complaint, other persons, firms and

corporations – referred to as “co-conspirators,” the identities of which are presently unknown –

have willingly conspired with Defendants in their unlawful scheme as described in this Complaint.

       24.     The acts alleged in this Complaint that were done by each Defendant or co-

conspirator were fully authorized by each of the Defendants and co-conspirators, or were ordered

or committed by duly authorized officers, managers, agents, employees or representatives of each

Defendant or co-conspirator while actively engaged in the management, direction, or control of its

affairs for that Defendant or co-conspirator.

III.   VENUE AND JURISDICTION

       25.     This civil antitrust action arises under Section 1 of the Sherman Act, 15 U.S.C. § 1,

for treble damages pursuant to Section 4 of the Clayton Act, 15 U.S.C. § 15(a).

       26.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 & 1337.

       27.     Venue is proper in this judicial district pursuant to 15 U.S.C. §15(a) and 22 and 28

U.S.C. § 1391, because during the time period relevant to these allegations, one or more of the

Defendants resided, transacted business, were found, or had agents in this District, and a

substantial part of the events giving rise to each Plaintiff’s claims occurred and a substantial




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portion of the affected interstate trade and commerce described below has been carried out in this

District.

        28.         This Court has personal jurisdiction over each Defendant because, among other

reasons, each: (a) transacted business in this District; (b) directly or indirectly sold and delivered

rail transportation services in this District; (c) has substantial aggregate contacts within this

District; and/or (d) engaged in an illegal price-fixing conspiracy that was directed at, and had the

intended effect of causing injury to, persons and entities residing in, located in, or doing business

in this District.

IV.     TRADE AND COMMERCE

        29.         During the time period relevant to Plaintiff’s claims, i.e., the time period relevant

to these allegations, Defendants and their co-conspirators engaged in business that affects or is

within the flow of interstate or foreign commerce, and the effect of that business on interstate or

foreign commerce is substantial. During the time period relevant to Plaintiff’s claims, Defendants

accounted for over 90% of all rail shipments within the United States. In particular, the activities

of Defendants and their co-conspirators are within the flow of interstate and foreign commerce or

have a substantial effect upon interstate or foreign commerce in that: (a) Defendants and their co-

conspirators sold and carried out rail shipments in a continuous and uninterrupted flow of interstate

commerce to shippers and customers throughout the United States; (b) data, information,

correspondence and/or financial material were exchanged between each Defendant in the State in

which each is located, incorporated, or has its principal place of business and other States; and/or

(c) money flowed between banks outside of the State in which each Defendant is located,

incorporated or has its principal place of business and other States.

        30.         The effect of Defendants and/or their co-conspirators’ anticompetitive conduct as

alleged in this Complaint on United States commerce gives rise to Plaintiff’s claims.


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V.      INDUSTRY BACKGROUND

        31.     Congress deregulated the railroad industry with passage of the Staggers Rail Act of

1980 (“Staggers Act”). Prior to the Staggers Act, the Interstate Commerce Commission (“ICC”),

heavily regulated the Railroad Industry. Prior to 1980, railroads could apply to the ICC for across-

the-board rate increases, which could be lawfully implemented on a collective basis. However,

after passage of the Staggers Act, railroads were free to set market rates for rail transportation.

Today the STB has replaced the ICC. The STB now has jurisdiction over rate-regulated rail traffic.

        32.     Today, almost forty years after the passage of the Staggers Act, the vast majority

of rail shipments (about 80%) move under private transportation contracts. These shipments are

not “rate-regulated.” For all of this rate-unregulated traffic, the railroads cannot turn to a

centralized agency to receive across-the-board rate increases. To the extent that they seek rate

increases, they must negotiate those increases in each private contract.

        33.     Currently, the railroad industry is highly concentrated. The four Defendants –

BNSF, CSX, NS, and UP – control about 90% of all rail freight track miles.

        34.     The Defendant railroads are part of a large, united network. Class I railroads

generally perform shipments over long distances. There are two basic types of rail traffic:

intermodal and carload. Intermodal traffic travels by rail and one other mode of transportation

such as a truck or a boat. All other rail traffic is considered carload traffic.

        35.     While the purpose of deregulation of the railroad industry was to promote

competition and lower rates for shippers (such as the Plaintiff in this case), the opposite occurred

– faced with declining profits, the railroads sought to charge supra-competitive prices, yielding

billions in unlawful profits for themselves.




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VI.    THE PRE-CONSPIRACY PERIOD

       36.     Since the passage of the Staggers Act, railroads had increasingly entered into

private freight transportation contracts with their customers that included cost escalation

provisions, that were tied to the All Inclusive Index (the AII”), or the Rail Cost Adjustment Factor

(“RCAF”). The RCAF was based on the AII. Both indices were published by the AAR, and both

indices included fuel as a factor. These indices weighted a number of factors such as, for example,

labor, fuel, equipment, rent and interest, so that the actual impact of any particular increases to

cost (such as rising fuel increases) would be captured by the index. In other words, any actual

increase in fuel costs, no matter how large, would be reflected in these indices and the railroads

would be able to recover their fuel costs.

       37.     In the early 2000s, Defendants were faced with sharply declining revenues. In an

effort to increase their revenues, between 2000 and 2003, they undertook various unilateral actions

to attempt to generate revenue. In the early 2000s, Defendants tried to apply stand-alone fuel

surcharges to their customers to generate revenue. However, they quickly realized that they would

not be able to generate revenue through this mechanism, at least not without losing business to

their competitors.

       38.     The wide use of the RCAF and AII made it impossible for Defendants to impose

stand-alone fuel surcharges on a majority of their customers. Defendants were aware that levying

a separate fuel surcharge on customers when fuel costs were already covered by the RCAF or the

AII would be perceived by customers as double dipping.

       39.     Before the conspiracy, Defendants faced difficulties in forcing shippers to accept

these original fuel surcharges due to competitive circumstances. For example, a BNSF internal

memo in 2002 stated that: “[t]he trucking industry uses fuel surcharges but our rail competitors do

not and we therefore are hard pressed to achieve it. We do loose [sic] business because of that and


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we may have to lower margin in other aspects in order to keep the business with surcharges where

we do apply it.”

       40.     Defendants’ own statements reveal that prior to the conspiracy and consistent with

the statement above, shippers rarely paid stand-alone fuel surcharges even when there were fuel

surcharge provisions in the privately-negotiated contracts.

       41.     BNSF’s Executive Vice President/Chief Marketing Officer stated that BNSF’s fuel

surcharge participation rates in January 2003 were “low … [in the] 25 to 30 percent range.” CSX’s

Executive Vice President of Sales and Marketing noted that “the fuel surcharge revenue [CSX]

was generating prior to the adoption of this new program in March 2003 [i.e. the conspiratorial

program]” was “[l]ow – relatively low to where it needed to be.” The UP CEO also noted that fuel

surcharges were rarely implemented prior to the conspiracy: “We had fuel surge [sic] programs in

many contracts, but because fuel had not run up, they were never implemented.” He also noted

that fuel surcharges triggered “during the 2000 through 2002 time period never reached significant

percentage levels.”

       42.     Defendants realized that they needed to find another way to implement these stand-

alone fuel surcharges. While they could not implement these fuel surcharges unilaterally, they

realized that if they colluded with each other, they could get these new surcharges to stick.

       43.     As more fully described in this Complaint, in the Spring of 2003, Defendants

reached an unlawful agreement to apply a new surcharge program. They agreed to use rising fuel

prices as a pretext to implement an aggressive, standardized, and supra-competitive fuel surcharge

on all of their customers. They also agreed no longer to compete with each other by offering

waivers or negotiating discounts to the fuel surcharge program – actions that would be against

their self-interest if taken unilaterally and without advance agreement.




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VII.    THE CONSPIRACY

        A.      Defendants Entered into the Unlawful Agreement in the Spring of 2003

        44.     From at least the Spring of 2003 and continuing through at least 2008, the top

executives at each of the Defendants met regularly at restaurants, recreational facilities and

conference facilities under the guise of discussing the railroad industry. Upon information and

belief, at these meetings, they reached an unlawful agreement to impose standardized fuel

surcharge programs. During the conspiracy, they used these meetings to monitor and further

discuss the conspiracy.

        45.     For example, top executives of Defendants met with each other during annual AAR

board meetings. As alleged earlier, the AAR is an industry trade group that represents the major

freight railroads in the United States, Canada and Mexico. At times relevant to Plaintiff’s claims,

each Defendant was a member of the AAR. As the largest Class I railroads in the AAR, Defendants

dominated the management of the AAR.

        46.     Additionally, these executives regularly met with each other at the biannual

National Freight Transportation Association (“NFTA”) meetings. The NFTA is a forum for

executives at transportation companies and transportation executives at industrial firms to meet

and discuss the transportation industry. Under the cover of these biannual meetings, Defendants

colluded and entered into an unlawful agreement to levy virtually identical stand-alone fuel

surcharges.

        47.     On March 11, 2003, CSX circulated an internal memorandum that provided for a

revised fuel surcharge program that would have reduced the surcharges applied to shippers’ (such

as Plaintiff’s) base rates.

        48.     On that same day, across the country, UP’s Chief Marketing Officer Jack Koraleski

(“Koraleski”) issued a “Revised Fuel Surcharge Recommendation” to his company. Under this


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new proposal, Koraleski recommended that UP adopt increased surcharges to shippers, escalating

at roughly twice the rate of the formula CSX had internally recommended.

       49.    On March 12, 2003, UP’s Koraleski traveled to CSX to play golf, to socialize, and

to discuss “fuel surcharge methodology” with CSX’s VP of Marketing and Sales, Clarence Gooden

(“Gooden”). The suggested agenda of the meeting noted that the two individuals had previously

discussed “fuel surcharge methodology.”

       50.    Within one week of the meeting between UP and CSX, CSX did an about-face.

CSX abandoned the revised fuel surcharge program it had been contemplating on March 11, 2003

(which would have reduced fuel surcharges), and adopted the aggressive escalation formula laid

out in UP’s Revised Fuel Surcharge Recommendation.

       51.    On March 31, 2003, nearly ten days later, UP formally adopted the same program,

making official the policy that Koraleski had circulated to UP on March 11, 2003.

       52.    This was not an instance of UP merely following CSX or CSX merely following

UP through parallel interdependence. Before the March 12, 2003 meeting, CSX was planning to

reduce fuel surcharge rates. During the March 12, 2003 meeting, CSX and UP reached an

agreement to impose fuel surcharges. After the March 12, 2003 meeting, CSX and UP followed

through and adopted the identical fuel surcharge program.

       53.    During this same time period, the two other Defendants, BNSF and NS, were

engaged in meetings regarding fuel surcharges.

       54.    On March 18, 2003, BNSF and NS’s senior management attended an in-person

meeting. Among others, the following individuals from NS attended: Chairman David Goode

(“Goode”), VP of Intermodal Mike McClennan (“McClennan”), and SVP of Marketing Services

Don Seale (“Seale”). Among others, the following individuals from BNSF attended: Chairman




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Matt Rose (“Rose”), Chief Marketing Officer John Lanigan (“Lanigan”), and VP of Consumer

Products and Head of Intermodal Activities Steve Branscum (“Branscum”). At the meeting, BNSF

and NS discussed how the four major railroads structured their fuel surcharge programs. After the

meeting, BNSF and NS adopted an “action item” stating: “BNSF’s fuel surcharge is structured

differently than NS, CSX, and UP. Should BNSF’s be synchronized with the other big players in

the industry?” This action item was assigned to BNSF’s Lanigan and NS’s Seale.

       55.     On March 27, 2003, NS’s Seale wrote to BNSF’s Lanigan that at an upcoming trade

association meeting, Seale wanted to discuss “the fuel surcharge issue we discussed in Norfolk.”

       56.     On April 1, 2003, BNSF’s Lanigan and CSX’s Chief Marketing Officer Mike

Giftos met in Jacksonville, Florida to discuss “Fuel Surcharge.”

       57.     Around the same time, from April 2-6, 2003, an NFTA meeting took place at the

Wigwam Resort in Litchfield Park, Arizona. Each of the Defendants attended the meeting at

Wigwam. Almost immediately following the Wigwam meeting, BNSF issued a new internal

directive adopting a stronger position on fuel surcharges: “Effective immediately and urgently per

John Lanigan … Authority to omit FSC [fuel surcharge] provision is to be granted to VP’s only

(who will also clear with John).”

       58.     As a result of agreements reached in early 2003, as described in this Complaint,

BNSF, CSX, NS, and UP adopted virtually identical fuel surcharge programs and did not stray

from these programs for the entire conspiracy. This was intentional and coordinated on the part

of the Defendants.

       B.      Pursuant to the Meetings in Early 2003, the Railroads Began to Coordinate
               Their Fuel Surcharges in Mid-2003

       59.     The programs that the four Defendants adopted were similar if not virtually the

same. The only differences in their fuel surcharge programs concerned the indices used and the



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thresholds chosen. The Western Railroads (BNSF and UP) tied their fuel surcharge to the HDF

Index, while the Eastern Railroads (CSX and NS) tied their programs to the WTI Index.

       60.     Shortly after the spring 2003 NFTA meeting, and as early as July 2003, the two

Western Railroads (BNSF and UP) began to coordinate their fuel surcharges. Prior to July 2003,

the UP fuel surcharge had been adjusted monthly based on the WTI Index, while the BNSF fuel

surcharge had been based on the HDF Index. As a result of the unlawful agreement, the Western

Railroads began imposing the same fuel surcharges at the same time and in the same amount.

       61.     BNSF and UP agreed to use the HDF Index in virtually the same way. Whenever

the average price of diesel fuel as measured by the HDF Index equaled or was lower than $1.35

per gallon, no surcharge was applied. When the HDF Index exceeded this threshold, both BNSF

and UP applied a surcharge of 0.5% for every five-cent increase above the threshold. So, for

example, if the HDF Index rose to $1.55 per gallon, BNSF and UP would apply a surcharge of

2%. In other words, the surcharge would increase 2% for every 20-cent increase in the HDF Index.

       62.     Not only did BNSF and UP coordinate how they applied the fuel surcharge, but

they also coordinated when they would apply the fuel surcharges. As a result of the unlawful

agreement, BNSF and UP decided to apply the fuel surcharges to shipments beginning the second

month after the month in which there was a change in the HDF Index average price. For example,

if the HDF Index average price changed in February, BNSF and UP would announce their new

fuel surcharge percentage on March 1, and then apply the surcharge to shipments in April.

Defendants published these new fuel surcharges on their websites, which made deviation from the

conspiracy pricing readily apparent.

       63.     The adoption of virtually identical and complex fuel surcharge programs

demonstrates that these surcharge programs were the result of a conspiratorial agreement among




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Defendants rather than independent responses to common market issues such as increasing fuel

costs.

         64.   UP’s decision to use the HDF Index (the same Index used by BNSF) in July 2003

is strong evidence of coordinated conduct because two months earlier, in April 2003, UP had

announced changes to its trigger point but did not change the index it was using. The fact that UP

switched to the HDF Index in July 2003 and began levying identical surcharges to BNSF is further

evidence that UP was acting according to a conspiratorial agreement.

         65.   A few months after the Western Railroads announced their coordinated surcharge

programs, the two Eastern Railroads (CSX and NS) began to use the WTI Index to levy identical

surcharges on their customers. This new surcharge program was the result of the unlawful

agreement that Defendants reached in the spring of 2003.

         66.   CSX and NS agreed to apply identical surcharges based on the WTI Index.

Whenever the WTI Index exceeded $23 per barrel of crude oil, CSX and NS’s rates were increased

by 0.4% for every $1 that the price of WTI oil exceeded $23 per barrel. For example, if the price

of WTI oil was $28 per barrel, the fuel surcharge would be 2%. In other words, the fuel surcharge

would be adjusted upward by 2% for every $5 increase in WTI average price.

         67.   Not only did CSX and NS coordinate how they applied the fuel surcharge, but they

also coordinated when they would apply the fuel surcharges – two calendar months after the WTI

had adjusted, thereby adopting the same schedule that the Western Railroads had adopted. For

example, if the WTI Index average price exceeded $23 in February, CSX and NS would assess the

applicable fuel surcharges in April. CSX and NS published their fuel surcharges on their website,

making deviation from conspiracy pricing readily apparent.




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          68.   This fuel surcharge program was clearly the result of a conspiratorial agreement

among Defendants. The programs were too complex and precise to be the result of unilateral

action.

          C.    Defendants Removed an Obstacle to the Conspiracy

          69.   Around the same time that the Defendants announced their new fuel surcharge

programs, they conspired to remove a major obstacle to their price-fixing conspiracy – the RCAF

and the AII, the two cost escalation provisions that would make it difficult for them to justify

stand-alone fuel surcharges.

          70.   The AII was published by the AAR. As of 2003, the AII already accounted

accurately for the impact of any fuel cost increase. Accordingly, any actual increase in fuel costs

(no matter how large) would be contained in the AII. As of 2003, many private freight contracts

contained provisions that were linked to the AII. This made it difficult for Defendants to impose

stand-alone fuel surcharges because imposing a separate fuel surcharge when fuel costs were

already covered by the RCAF or the AII would be perceived by customers as double recovering

for fuel costs. Accordingly, in order to carry out their plan, Defendants needed to find a way to

justify stand-alone fuel surcharges.

          71.   Their solution was to force the AAR to adopt a new cost escalation provision, which

removed fuel, thereby allowing them to justify stand-alone fuel surcharges. Because of their size,

the four Defendants dominated the AAR board.

          72.   AAR board meetings and discussions took place in October and December 2003.

During these meetings, BNSF, CSX, NS and UP used their influence to cause the AAR to adopt a

new cost escalation index called the All Inclusive Index Less Fuel (“AIILF”). This index was

virtually identical to the AII except it removed fuel, thereby opening the door for Defendants to




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begin assessing separate fuel surcharges. The underlying decision to create this new index was

the result of Defendants’ coordinated actions and an important step in Defendants’ conspiratorial

plan.

        73.    Not only was removing fuel from the AII a necessary step in making the conspiracy

effective, it was also an unprecedented move by the AAR, one that only could be achieved by

coordinated conduct among the four Defendants. The monumental nature of this achievement was

documented in a letter from BNSF’s chief economist: “In December 2003 [Matt Rose, BNSF’s

Chief Executive Officer] single-handedly got the A.A.R. to establish [the AIILF]…. In my 18-

year railroad career, no one had ever succeeded in steering the A.A.R. to do this…. [T]he

combination of sound price escalation using this index and a fuel surcharge should tremendously

help our bottom-line for years to come. In fact, … the entire rail industry should benefit from the

escalation options the index provides.” (emphasis added).

        74.    There was no legitimate business justification for the coordinated action by the four

Defendants to remove fuel from the AII. They could not justify the coordinated adoption of the

AIILF as a more efficient cost recovery mechanism for fuel because the AII (and the related

RCAF) already acted as mechanisms for Defendants to recover their actual fuel costs. Their sole

motivation in causing the AAR to adopt the AIILF was so that they could use fuel surcharges as

“profit centers” to make more money. With the AII and RCAF now extinct, Defendants could

apply the fuel surcharges under the guise of recovering fuel costs. However, their own statements

demonstrate that they were using the fuel surcharge programs (the details of which they agreed to)

as revenue generators, not cost recovery mechanisms.           For example, an internal BNSF

memorandum noted that: “Eastern Railroads [CSX and NS] have a ‘profit center’ with their Fuel

Surcharge Programs….” Additionally, another BNSF employee described the company’s fuel




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surcharge program as “a revenue maximization program, not protection against fuel prices.”

Similarly, the other companies recognized that the program was solely meant to generate revenue.

In a form 10-K, CSX noted that its “primary components of the revenue gain were continued yield

management and the Company’s fuel surcharge program, which drove revenue per unit across all

major markets.” NS employees echoed this sentiment as well: “[I]t seems like all the Merchandise

rev/car increases are coming from fuel surcharges.”

       75.     As evidenced by the statements above, the actions of Defendants in adopting

virtually identical fuel surcharge programs and creating the AIILF were not unilateral responses

to the common issue of increasing fuel costs. Instead, the purpose in taking these collective actions

was to dramatically and unlawfully increase Defendants’ profits at the expense of their customers.

       D.      Defendants Began Imposing the New Fuel Surcharges, Which Were More
               Aggressive, Uniformly Applied, and Non-Negotiable

       76.     As alleged earlier, prior to 2003, Defendants had difficulty imposing fuel

surcharges because they were afraid that if they strictly imposed fuel surcharges, they would lose

business to railroads that did not impose the costly surcharges. However, this changed after

Defendants entered into the unlawful agreement in 2003. They began applying aggressive fuel

surcharges in lockstep, and Defendants rarely (if ever) offered exceptions to their fuel surcharge

policy. As shown by Defendants’ previous statements and actions, a strict adherence to a “no fuel

surcharge exceptions” policy would have been against each Defendant’s self-interest if taken

unilaterally and without advance agreement that all Defendants would adhere to the fuel surcharge

agreement.

       77.     These conspiratorial surcharges were incredibly aggressive because they were

applied to entire base rates. Following the conspiratorial publication of the AIILF, Defendants

began to impose the fuel surcharges as separate items on their customers’ bills. As alleged earlier,



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Defendants imposed these surcharges as a percentage multiplier of the total base rate for the rail

freight transportation. By way of illustration, suppose that fuel costs accounted for 30% of

Defendants’ total cost of providing rail freight services, and the applicable fuel index increased by

10%. In that instance, Defendants would increase their total charge by 10%, even though their

costs only went up by 3%. In other words, pursuant to their agreement, Defendants applied the

supposed fuel cost increase percentage to the entire cost of a freight shipment (notwithstanding the

fact that fuel only accounts for a portion of the costs of shipment). This agreed upon approach

yielded Defendants billions in profits.

       78.     Additionally, these conspiratorial surcharges were more aggressive than pre-

conspiracy surcharges because these new surcharges had lower trigger prices and they were

adjusted based on the 30-day average fuel price. In the past, adjustments were only made when

the trigger price was exceeded for 30 (or more) consecutive days. In other words, unlike the old

fuel surcharges, which required the price of oil to exceed the threshold price ($28 per barrel under

the old program) for 30 consecutive days, the new program would be triggered at $23 per barrel

and would be based on the average price of oil for the preceding month. At least one executive

noted that the lower trigger price and the use of the average price netted Defendants an incredible

amount of revenue. NS’s Pricing System Manager described the new program in an internal NS

e-mail: “By dropping the base to $23 per barrel [from $28 per barrel], raising the percentage yield

and [taking] it sooner, the change is in fact a blatant general rate increase….”

       79.     Furthermore, Defendants’ new “zero exception” policies demonstrated that these

new fuel surcharge programs were the result of a conspiracy to fix prices. Prior to 2003,

Defendants had difficulty imposing fuel surcharges because customers resisted them. As one

company noted in 2002: “The trucking industry uses fuel surcharges but our rail competitors do




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not and we therefore are hard pressed to achieve it. We do loose [sic] business because of that and

we may have to lower margin in other aspects in order to keep the business with surcharges where

we do apply it.”

       80.     In agreeing to collude on fuel surcharges, each Defendant was acting against its

independent short-term, economic self-interest. In a competitive environment free of collusion,

carriers with lower fuel costs could impose a lower surcharge and thereby increase market share

at the expense of competing railroads. However, rather than engage in such competitive behavior,

Defendants instead restricted their freedom to price competitively and adhered to an industry-wide

pattern of uniform fuel surcharge pricing based on the total cost of the freight.

       81.     Defendants’ restriction of pricing freedom is evidenced by, among other actions,

their new policies that were put in place immediately after the unlawful agreement and their

unwavering adherence to these policies. All of Defendants’ policies mandated that fuel surcharges

be included in all contracts. As of January 2004, BNSF’s pricing guidelines stated: “Every

Contract should include a fuel surcharge clause. All new and renewing contract negotiations

should have a fuel surcharge as the goal.” NS’s Vice President acknowledged that “there was a

policy [at NS] to apply the standard fuel surcharge to as many customers as possible.” A CSX

employee noted that “[t]he new price vehicle should incorporate [CSX’s] [fuel surcharge]

program.” Internal UP e-mails stated that: “all contracts without fuel language will have fuel

language upon renewal. This is a mandate by UP management.”

       82.     These policies were not empty directives. Far from it. Defendants did not offer

discounts to their customers even when doing so would have made sense in a healthy and

competitive market, allowing them to increase market share at the expense of competing railroads

who were imposing high surcharges. As a result of their unlawful agreement, Defendants all




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strictly followed the conspiracy pricing, refusing to offer any material discounts to shippers. A

BNSF employee’s staff meeting notes indicated that BNSF was following the conspiracy pricing.

The employee wrote: “[There are] [v]irtually no exceptions” to fuel surcharge adherence and

“business units have done an excellent job in [fuel surcharge] adherence.” A CSX executive noted

that his goal was to have “zero exceptions” when applying fuel surcharges to contracts. In an

internal e-mail, an NS employee wrote: “There are relatively few [NS] publications with no [fuel

surcharge]….”

        83.     Again, this no-exception policy, adopted and followed by all of the Defendants,

would not make economic sense in the absence of a conspiracy. Anecdotal evidence of shippers

also supports the notion that Defendants were adhering to a conspiratorial agreement. Shippers

from different industries tried to negotiate fuel surcharges but were told by Defendants (who had

previously been willing to negotiate discounts) that the fuel surcharges were not negotiable.

        E.      The Fuel Surcharge Percentages Charged by the Railroads Were Similar if
                not Virtually Identical For the Entire Conspiracy and Affected Intermodal
                Traffic and Captive Shippers

        84.     The first chart below shows that the fuel surcharge percentages charged by the

Western Railroads (BNSF and UP) varied before the conspiracy but were virtually identical

starting in July 2003. The second chart shows that the fuel surcharge percentages charged by the

Eastern Railroads (CSX and NS) varied before 2004 but were virtually identical starting in March

2004.




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        85.     The foregoing uniform pricing for more than four years is not explained by any

legitimate business justification nor was it a common response to the problem of rising fuel costs.

As alleged in this Complaint, any actual fuel cost increases experienced by Defendants would have

been covered by the AII.

        86.     While the above formulae and percentages reflect the fuel surcharges applied by

Defendants to their carload businesses (i.e., shipments that travel from origin to destination only

by railcars), Defendants also coordinated with respect to the fuel surcharges applied to their

intermodal business (i.e., shipments that travel by rail and one other mode of transportation such

as truck or ship).



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       87.     The direct heads of Defendants’ intermodal businesses attended anticompetitive

meetings. NS’s VP of Intermodal Mike McClellan and BNSF’s VP of Consumer Products and

Head of Intermodal Activities Steve Branscum participated in the March 2003 meeting in which

NS and BNSF discussed how the fuel surcharge programs of all four Defendants were structured,

and then adopted an action item for BNSF and NS senior executives to address synchronizing their

fuel surcharge programs with the other Defendants.

       88.     Moreover, the same senior executives who conspired to impose supra-competitive

fuel surcharges on their carload businesses led Defendants’ intermodal businesses. In other words,

Defendants’ price-fixing agreements applied to intermodal shipping as well.

       89.     Furthermore, Defendants imposed standard fuel surcharges on all shippers without

regard to whether the shipper had access to alternative modes of transportation. In written

testimony submitted to Congress, NS’s Chairman Moorman recognized that even so-called

“captive” shippers (those shippers who do not have alternative modes of transportation) have

leverage in negotiating a better rate at these “captive” locations:

               Most large companies have multiple rail-served facilities with some of the
               facilities served by one railroad, some facilities served by another railroad and
               some facilities served by two railroads. The customer uses its traffic at the
               dually served facilities to negotiate a better rate/service package on traffic at
               the single served facilities. That is one source of leverage. Another source is
               product competition. For example, assume we are the sole serving carrier at a
               chemical plant that ships to numerous receivers. When the receiver can use
               another product in lieu of the one produced at our solely served facility, we will
               lose the business. ... Another major source of competition is geographic
               competition. ... In short, even where there is only one railroad serving a facility,
               there are market factors at play. These competitive constraints are real.

       90.     Before the conspiracy, captive shippers could negotiate out of fuel surcharges. But

during the conspiracy, they could not.

       91.     Defendants’ conspiratorial goal was clear. They sought to reap billions in profits

for themselves – and they did because of their conspiracy. As a means to this end, they used rising


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fuel costs as a pretext to enact a misleading fuel surcharge program. They enacted identical fuel

surcharge programs, removed fuel from the long-used cost escalation index, applied their fuel

surcharges to base rates, and refused to offer discounts or otherwise negotiate around these

surcharges. In the end, Defendants reaped the rewards of this conspiracy, making billions in profits

at the expense of shippers, including the Plaintiff.

VIII. THE RAIL FREIGHT INDUSTRY IS SUSCEPTIBLE TO PRICE FIXING

       92.     Defendants’ anticompetitive conduct constitutes a conspiracy to fix prices, which

is a per se violation of Section 1 of the Sherman Act. Therefore, Plaintiff need not define a relevant

market. There are, however, features of the market relevant to this case that show both: (i) that

the market is susceptible to collusion, and (ii) that the fuel surcharge programs were in fact the

result of collusion and not the result of conscious parallelism, price-matching, or follow-the-leader

pricing.

       93.     The U.S. market for rail freight has been characterized by numerous factors that

make the industry susceptible to price fixing, including, without limitation, the following: (1)

industry concentration; (2) substantial barriers to entry; (3) demand inelasticity; and (4) well-

understood and easily communicated pricing channels.

       94.     Since 1975, consolidation has reduced the number of competitors in the railroad

industry, which has rendered the market ripe for collusion. In 1975, there were 56 Class I railroads.

Today, there are only 7 Class I railroads. Thus, the market for rail freight in the United States is

extremely concentrated. Additionally, the four Defendants control about 90% of rail freight track

miles. While the numbers were small enough to foster collusion, the number of competitors was

enough to suggest that, absent collusion, fuel surcharges would not have been imposed in such a

uniform and aggressive method.




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        95.     Barriers to entry increase a market’s susceptibility to a coordinated effort to

maintain supra-competitive prices because it is difficult for new companies to enter the market and

destabilize coordinated supra-competitive prices. High fixed costs to create and maintain railroad

infrastructure create substantial barriers to entry in the rail freight industry.

        96.     A price fixing conspiracy is most effective when the demand for the conspirators’

services is inelastic. This means that the conspirators can sustain supra-competitive prices without

enough customers leaving so as to make the price increase unprofitable. Defendants’ businesses

are concentrated in commodities and distances over which rail is the most cost-efficient transport

option and, therefore, the demand they faced was in general inelastic.

        97.     Furthermore, railroads use common pricing documents that allowed Defendants to

monitor each other’s pricing actions during the conspiracy.

        98.     The sheer complexity and uniqueness of the fuel surcharge programs involved in

this case further demonstrates that these programs were not the result of independent actions but

were the result of an unlawful agreement.

        99.     Taken together, these facts show that the U.S. market was susceptible to price

fixing, and that Defendants seized on this susceptibility to enact their own unlawful scheme,

reaping billions of dollars in profits.

IX.     THE SURFACE TRANSPORTATION BOARD DECISION AND THE HISTORY
        OF PRIOR CASES

        100.    As previously alleged, shippers of both rate-regulated and rate-unregulated traffic

were affected by the artificially high fuel surcharges imposed by Defendants’ conspiracy. Shippers

of rate-regulated traffic complained to the Surface Transportation Board in 2006. Shippers of rate-

unregulated traffic had similar complaints.




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        101.    In 2006, shippers of rate-unregulated traffic complained that the fuel surcharges

imposed on them were unreasonable. The STB instituted a proceeding to inquire into these fuel

surcharge practices. The STB proceeding and ultimate decision related only to rate-regulated

traffic, not rate-unregulated traffic that is the subject of this Complaint. However, as the fuel

surcharges applied to rate-regulated traffic are the same fuel surcharges applied to rate-unregulated

traffic, the STB decision further indicates that Defendants entered into an agreement to restrain

trade in violation of the antitrust laws.

        102.    The STB held proceedings in mid-2006 and released an opinion in January 2007,

concluding: “[I]t is an unreasonable practice to compute fuel surcharges as a percentage of the

base rates. Because railroads rely on differential pricing, under which rates are dependent on

factors other than costs, a surcharge that is tied to the level of the base rate, rather than to fuel

consumption for the movement to which the surcharge is applied, cannot fairly be described as a

cost recovery mechanism. Rather, a fuel surcharge program that increases all rates by a set

percentage stands virtually no prospect of reflecting the actual increase in fuel costs for handling

the particular traffic to which the surcharge is applied. Two shippers may have traffic with

identical fuel costs, but if one starts out with a higher base rate (because for example it has fewer

transportation alternatives) it will pay dramatically more in fuel surcharges.”            Rail Fuel

Surcharges, Ex. Parte No. 661, 2007 WL 201205, at *4 (S.T.B. Jan. 26, 2007). Further, the Court

noted that “imposing rate increases in this manner, when there [was] no real correlation between

the rate increase and the increase in fuel costs for that particular movement to which the surcharge

[was] applied, is a misleading and ultimately unreasonable practice.” Id. at *4. 3



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                While the STB opinion and findings are non-binding on a federal district court,
these findings bolster Plaintiff’s claims that Defendants entered into an agreement to restrain trade.


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       103.    While the STB did not prohibit the use of fuel surcharges, it cautioned the railroads

that any surcharge imposed must have “a reasonable nexus to fuel consumption.” Id. at *6.

       104.    Pursuant to their conspiracy, Defendants applied the same misleading and

unreasonable fuel surcharge practices described above to private rail-freight transportation

contracts, thus injuring Plaintiff in this case and causing it to pay supra-competitive prices for rail

transportation services.

X.     DEFENDANTS’ CONSPIRACY WAS HIGHLY EFFECTIVE

       105.    As a proximate result of this conspiracy, and during the time period relevant to

Plaintiff’s claims, Defendants and co-conspirators charged Plaintiff and others in the United States

supra-competitive prices (i.e., prices above a competitive level) for rail transportation services.

       106.    Defendants and co-conspirators’ conspiracy alleged in this Complaint overcharged

Plaintiff on rail freight transportation services that Plaintiff directly purchased from one or more

Defendants and co-conspirators

       107.    As alleged above, Defendants reaped huge profits from the unlawful fuel

surcharges. As the head of UP, James Young, admitted in 2007, “three, four years ago [the fuel

surcharges] were really non-existent” and “it’s only been the last couple of years … that the

financial returns in this business [have] started to move in the right direction.”

       108.    As a result of the unlawful conduct, combination, or conspiracy alleged in this

Complaint: (a) the fuel surcharges charged to Plaintiff for unregulated rail freight transportation

services have been fixed, maintained, increased, or stabilized at supra-competitive levels; (b)

Plaintiff has been deprived of the benefits of free and unrestricted competition in the market for

unregulated rail freight transportation services; and (c) competition in establishing prices paid,




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customers of, and territories for unregulated rail freight transportation has been suppressed,

restrained, and/or eliminated.

XI.    DISCOVERY WILL ESTABLISH THE FULL SCOPE OF THE CONSPIRACY

       109.      Discovery is necessary to determine the full scope of the conspiracy, including the

time frame and participants. Plaintiff reserves the right to amend or supplement this Complaint to

add other Defendants, claims, time period, or other allegations based upon discovery and further

investigation.

XII.   TOLLING OF THE STATUTE OF LIMITATIONS

       110.      The filing of a class action suspends the applicable statute of limitations as to all

asserted members of the class who would have been parties had the suit been permitted to continue

as a class action. American Pipe & Constr. Co. v. Utah, 414 U.S. 538, 554 (1974); Crown v.

Parker, 462 U.S. 345, 350 (1983). The mere fact that a federal statute providing for substantive

liability also sets a time limitation upon the institution of suit does not restrict the power of the

federal courts to hold that the statute of limitations is tolled under certain circumstances not

inconsistent with the legislative purpose. American Pipe, 414 U.S. at 559. A class complaint

notifies defendants not only of the substantive claims being brought against them, but also of the

number and generic identities of the potential Plaintiff who may participate in the judgment. Id.

at 555. Defendants will be aware of the need to preserve evidence and witnesses respecting the

claims of all the members of the class. Tolling the statute of limitations thus creates no potential

for unfair surprise, regardless of the method class members choose to enforce their rights upon

denial of class certification. Crown v. Parker, 462 U.S. 345, 352-353 (1983). Once the statute of

limitations has been tolled, it remains tolled for all members of the putative class for a reasonable

period after class certification is conclusively denied. At that point, class members may choose to




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file their own suits and be afforded a sufficient opportunity to investigate, prepare and file their

claims. Id. at 354.

          111.   On May 14, 2007 a first class action suit (Dust Pro, Inc. v. CSX Transportation,

Inc., et al., D.N.J., No. 2:07-cv-02251-DMC-MF) (“Dust Pro”) was filed against Defendants and

others on behalf of a class that included direct purchasers of unregulated rail freight transportation

services from Defendants and others from July 1, 2003 until at least May 14, 2007 and who

were assessed a rail fuel surcharge for the agreed-upon transportation. The class action alleged

that Defendants conspired to use rail fuel surcharges, which were added to customers’ bills, as a

means to fix, raise, maintain, and/or stabilize prices of rail freight transportation services sold in

the United States. Plaintiff was a member of the putative class.

          112.   On November 6, 2007, the Multidistrict Litigation Panel consolidated all 18

pending actions, including Dust Pro, before the District of District of Columbia under the caption

In Re: Rail Freight Fuel Surcharge Antitrust Litigation (see D.D.C., No. 1:07-mc-00489-PLF, ECF

No. 1).

          113.   In 2012, the District Court initially granted a motion to certify the direct purchaser

class. See In re Rail Freight Fuel Surcharge Antitrust Litig., 287 F.R.D. 1 (D.D.C. 2012).

However, on appeal, the United States Court of Appeals for the District of Columbia Circuit

reversed and vacated the certification ruling and remanded for further consideration. (In re Rail

Freight Surcharge Antitrust Litig. MDL No. 1869, 725 F.3d 244 (D.C. Cir. 2013).

          114.   On October 10, 2017, the District Court on remand denied a motion for certification

of the direct purchaser class, In re Rail Freight Surcharge Antitrust Litig., 292 F. Supp. 3d 14

(D.D.C. 2017), and class Plaintiffs subsequently appealed that decision to the Court of Appeals.




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        115.    On November 8, 2017 – during the pendency of the class Plaintiffs’ Rule 23(f)

Petition to the Court of Appeals – the District Court entered an Order staying the case until the

earlier of: (a) denial of Plaintiffs’ Petition by the Court of Appeals, or (b) January 5, 2018 and

further stated that:

                “It is not necessary for the Court to address at this time [class] Plaintiffs’
                request for tolling, because Defendants have agreed, for claims previously
                tolled by the pendency of the class action, to exclude from future statutes
                of limitations calculations the time between (i) the date of the court’s
                order denying class certification and (ii) the earlier of either the date when
                the pending Rule 23(f) Petition may be denied or January 5, 2018, for
                actions filed after the date in clause (ii).”

        116.    On December 20, 2017, the Court of Appeals granted the class Plaintiffs’ Rule 23(f)

Petition. In re Rail Freight Surcharge Antitrust Litig., No. 17-8005 (D.C. Cir.).

        117.    On January 8, 2018 – during the pendency of the appeal – the District Court entered

a Stipulation and Second Order on Plaintiffs’ Motion for a Stay of Proceedings and to Toll The

Statute of Limitations, see D.D.C., No. 1:07-mc-00489-PLF, ECF No. 856, pending the appeal of

the class Plaintiffs pursuant to Fed. R. Civ. P. 23(f). The Stipulation and Order states in pertinent

part:

                The Court again acknowledges Defendants’ representation regarding
                future statute of limitations calculations and, on the basis of that
                representation, again concludes that it is not necessary at this time to decide.

                (1) whether to enter an order extending tolling under the American Pipe
                doctrine beyond the date of the Court’s order denying class certification,
                see Am. Pipe & Constr. Co. v. Utah, 414 U.S. 538, 554 (1974), or (2)
                whether the Court has the power to enter such an order.

                Now, therefore, the Court ORDERS as follows:

                [Class] Plaintiffs need not renew their request for tolling at this time
                because Defendants have agreed, for claims previously tolled by the
                pendency of the class action, to exclude from future statutes of limitations
                calculations the time between (i) the date of the court’s order denying class
                certification and (ii) the date that the Court of Appeals issues its merits-
                panel decision on [Class] Plaintiffs’ appeal, for actions that are filed after


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                  the date in clause (ii). This determination is without prejudice to Plaintiffs
                  renewing their request at a future date.

Id. at 3.

        118.      On August 16, 2019, the Court of Appeals affirmed the District Court’s 2017 denial

of class certification. In re Rail Freight Surcharge Antitrust Litig., No. 18-7010 (D.C. Cir.).

        119.      Accordingly, at a minimum, the period between October 10, 2017 (the date of the

District Court’s order denying class certification) and August 16, 2019 (the date that the Court of

Appeals issued its decision to affirm the District Court’s denial of class certification) must be

excluded from the statutes of limitations calculation for individual actions – such as this one – that

are filed after August 16, 2019.

        120.      In addition to the above, other court orders, stipulations, or agreements may be

relevant to the application of the statute of limitations to Plaintiff’s claims.

                                               COUNT I

            (Violation of Section 1 of the Sherman Act and Section 4 of the Clayton Act)

        121.      Plaintiff incorporates by reference each of the paragraphs alleged above.

        122.      Beginning in or about 2003 and continuing in force or effect, or both, through 2008,

with an effect that continued thereafter, Defendants and their co-conspirators engaged in a

continuing agreement, understanding and conspiracy not to compete on the sale of unregulated rail

freight transportations services in the United States in unreasonable restraint of trade and

commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        123.      This contract, combination or conspiracy resulted in an agreement, understanding,

or concerted action between and among Defendants in furtherance of which Defendants fixed,

maintained, increased and/or standardized prices for fuel surcharges for rail freight transportation

handled through private contracts and other means exempt from regulation. This contract,



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combination or conspiracy constitutes a per se violation of trade and is, in any event, an unlawful

restraint of trade.

        124.    Defendants’ contract, combination, agreement, understanding or concerted action

occurred within the flow of, and substantially affected, interstate and international commerce. As

alleged above, Defendants’ unlawful conduct was carried out through mutual understandings and

agreements.

        125.    This contract, combination or conspiracy in restraint of trade has had the following

effects: (a) the fuel surcharges charged to Plaintiff for unregulated rail freight transportation

services have been fixed, increased, maintained and/or stabilized at supra-competitive levels; (b)

Plaintiff has been deprived of the benefits of free and unrestricted competition in the market for

unregulated rail freight transportation services; and (c) competition in establishing prices paid,

customers of, and territories for unregulated rail freight transportation has been suppressed,

restrained, and/or eliminated.

        126.    Plaintiff has been injured in its business or property by reason of Defendants’

antitrust violations in amounts not yet ascertained. Plaintiff’s injury as a direct purchaser of the

unregulated rail freight is an injury of the type the antitrust laws were designed to prevent and

flows from that which makes Defendants’ conduct unlawful.

XIII. PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for the following relief:

        A.      A jury verdict in the amount of the compensatory damages sustained by Plaintiff.

        B.      A judgment against Defendants, jointly and severally, by the Court in treble the

amount of the jury verdict, in accordance with Section 4 of the Clayton Act, 15 U.S.C. § 15, and

for attorney’s fees, costs and interest as allowable by law.




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           C.      A permanent injunction pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26,

enjoining Defendants from future violations of the antitrust laws and from practices that facilitate

those violations.

           D.      Such other and further relief as the Court may deem just and proper.

                                             JURY DEMAND

           Plaintiff demands a trial by jury of all issues so triable.

Dated: June 8, 2020                                        Respectfully submitted,

                                                           /s/Robert D. W. Landon, III
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